
In re Rapp, Linda Ann Razza, applying for writ of certiorari to the Court of Appeal, Fourth Circuit, No. CA-0807; Parish of Orleans, Civil District Court, Div. “F”, No. 80-8644.
Granted. The ruling of the Court of Appeal is reversed and the case is remanded to the Court of Appeal for reconsideration. C.C.P. 2121 and 2161; Traigle v. Gulf Coast, 399 So.2d 183 (La. 1981); and Taddonio v. Taddonio, 429 So.2d 442 (La. 1983) and 431 So.2d 412 (La.1983) are applicable and govern this case.
MARCUS, J., dissents.
